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 8                                 UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10                                                  ***
     UNITED STATES OF AMERICA,         )
11                                     )
               Plaintiff,              )
12                                     )
   vs.                                 )                  2:11-cr-048-JCM-LRL
13                                     )
   LEE NOVARRO,                        )
14                                     )
               Defendant.              )                          ORDER
15 ____________________________________)
16
            Good cause appearing,
17
            IT IS ORDERED that pursuant to 18 U.S.C. § 3006A, Margaret Stanish, Esq., is hereby
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     appointed as counsel for defendant Lee Navarro in place of Karen Winckler, Esq., for all purposes
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     and further proceedings in this case. The effective date of this appointment is February 9, 2011.
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21                  DATED this 28th day of March, 2011.
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23                                                        _____________________________________
                                                          UNITED STATES MAGISTRATE JUDGE
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